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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
                                PANAMA CITY DIVISION

UNITED STATES OF AMERICA

-vs-                                                Case # 5:15cr30-006


MAURO GONZALEZ-LIRA
a/k/a “CHINO”                                       USM # 18567-043

                                                    Defendant’s Attorney:
                                                    Paul M. Villeneuve (Appointed)
                                                    1102 N. Gadsden Street
                                                    Tallahassee, Florida 32303


___________________________________

                        AMENDED JUDGMENT IN A CRIMINAL CASE1

The defendant pleaded guilty to Counts 1 and 26 of the indictment on April 7, 2016.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offense:


       TITLE/SECTION               NATURE OF                   DATE OFFENSE          COUNT
          NUMBER                    OFFENSE                     CONCLUDED




 18 U.S.C. § 371           Conspiracy to Transport An           August 31, 2015         1
                           Individual in Interstate
                           Commerce to Engage in
                           Prostitution; or Induce,
                           Persuade, or Entice An
                           Individual to Travel In
                           Interstate Commerce to
                           Engage in Prostitution; or To
                           Keep or Maintain, or Harbor In
                           Any House/Place for the
                           Purpose of Prostitution An
                           Alien in Pursuance of
                           Importation



         1
        This amended judgment is identical to the original except for the correction
of one scrivener’s error: for count 26, the date the offense concluded.

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 18 U.S.C. § 2422           Persuade individuals to            July 20, 2015            26
                            engage in prostitution

The defendant is sentenced as provided in the following pages of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.



                                     Date of Imposition of Sentence:
                                     June 15, 2016




                                     s/Robert L. Hinkle
                                     United States District Judge
                                     June 27, 2016




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                                   IMPRISONMENT


      The defendant is hereby committed to the custody of the United States
Bureau of Prisons to be imprisoned for a term of 60 months on counts 1 and 26,
to run concurrently.

         No supervised release is imposed.

         The Court recommends to the Bureau of Prisons in order of priority:

              1.    The defendant should participate in a
          drug-abuse program and in cognitive behavioral
          therapy.

               2.      The defendant should be designated to a
          facility as near as possible to Talladega, Alabama.


         The defendant is remanded to the United States Marshal.


                                      RETURN

I have executed this judgment as follows:
____________________________________________________________________________

____________________________________________________________________________

____________________________________________________________________________


Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this

judgment.

                                  __________________________________
                                  UNITED STATES MARSHAL


                                  By:__________________________________
                                        Deputy U.S. Marshal



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                               CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the
Bureau of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S.
District Court, unless otherwise directed by the Court. Payments shall be made payable to the
Clerk, U.S. District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-
7717. Payments can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall pay
interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options in the Schedule of Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g).


                 SPECIAL                                   FINE                 RESTITUTION
           MONETARY ASESSEMENT
                  $200.00                                   -0-                        -0-


                            SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 is imposed.

No fine imposed.




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                                    SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-
federal victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7)
penalties

Payment of the total fine and other criminal monetary penalties shall be due as follows:

in full immediately

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of
a change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the
amount due. The defendant will receive credit for all payments previously made toward any
criminal monetary penalties imposed.

The defendant shall forfeit the defendant’s interest in the following property to the United States:




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